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     Attorneys for Defendant
13   WORKDAY, INC.

14                                   UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

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17   DEREK L. MOBLEY, for and on behalf of           Case No. 3:23-cv-00770-RFL
     himself and other persons similarly situated;
18                                                   STIPULATION AND [PROPOSED]
                        Plaintiff,                   ORDER TO EXTEND TIME TO
19                                                   RESPOND TO FIRST AMENDED
            v.                                       CLASS ACTION COMPLAINT
20
     WORKDAY, INC.
21
                        Defendant.
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         STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO FILE RESPONSIVE PLEADING
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1            Plaintiff Derek Mobley (“Plaintiff”) and Defendant Workday, Inc. (“Defendant”)

 2   (collectively, the Parties), by and through their respective counsel of record, hereby stipulate to

 3   extend time for Defendant to respond to the First Amended Class Action Complaint filed

 4   February 20, 2024 (“FAC”). This stipulation and request is based on the following:

 5              1. Plaintiff filed this case as a putative class action alleging violations of Title VII of

 6                  the Civil Rights Act of 1964, 42 U.S.C. Section 1981, the Americans with

 7                  Disabilities Act, and the Age Discrimination in Employment Act of 1967 on

 8                  February 21, 2023.

 9              2. Defendant was served with the Complaint on April 25, 2023 through its agent for
10                  service of process.

11              3. On May 3, 2023, the parties agreed to a 60-day extension of time for Defendant to

12                  respond to the Complaint, making the responsive deadline July 17, 2023.

13              4. On July 17, 2023, Defendant moved to dismiss the Complaint on the grounds that

14                  Plaintiff failed to state a claim upon which relief can be granted and failed to

15                  exhaust administrative remedies setting a hearing date of September 12, 2023.

16              5. On January 19, 2024, the Court granted Defendant’s motion with leave to amend.

17              6. On February 20, 2024, Plaintiff timely filed the FAC.

18              7. Consistent with Federal Rule of Civil Procedure 15, Defendant’s responsive

19                  pleading is presently due on March 5, 2024.
20              8. The parties agree that Plaintiff’s amendments warrant additional time for

21                  Defendant to consider prior to filing a responsive pleading and neither party will

22                  suffer prejudice from such extension.

23              9. The parties have not previously sought an extension of time to respond to the FAC

24                  and the Court has not indicated that no further extensions will be granted.

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           STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO FILE RESPONSIVE PLEADING
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 1          NOW, THEREFORE, it is hereby stipulated and agreed by the Parties, by and through the

 2   undersigned counsel of record that Defendant’s deadline to respond to the FAC is extended seven

 3   days from March 5, 2024 to March 12, 2024.

 4   Dated: February 26, 2024                             ORRICK, HERRINGTON & SUTCLIFFE LLP
 5

 6                                                        By:      /s/ Julie A. Totten
                                                                             JULIE A. TOTTEN
 7                                                                          ERIN M. CONNELL
                                                                           KAYLA D. GRUNDY
 8                                                                     ALEXANDRIA R. ELLIOTT
                                                                        JUSTIN M. WASHINGTON
 9                                                                        Attorneys for Defendant
                                                                             WORKDAY, INC.
10
     Dated: February 26, 2024                             WINSTON COOKS LLC
11

12
                                                          By:         /s/ Roderick T. Cooks
13                                                                          LEE D. WINSTON
                                                                          RODERICK T. COOKS
14                                                                         Attorneys for Plaintiff
                                                                            DEREK MOBLEY
15
                                                                      ADMITTED PRO HAC VICE
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17

18   I hereby attest that the concurrence in the filing of this document has been obtained from
     Roderick T. Cooks, Attorney for Plaintiff.
19
20   Dated: February 26, 2024                                      /s/ Julie A. Totten
                                                                ______________________
                                                                   JULIE A. TOTTEN
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         STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO FILE RESPONSIVE PLEADING
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 1                                          [PROPOSED] ORDER

 2          Having read the Parties’ Stipulation and good cause appearing, the Court hereby

 3   GRANTS the Parties’ Stipulation and orders the following:

 4          Defendant is ordered to respond to the First Amended Class Action Complaint on or

 5   before March 12, 2024.

 6          IT IS SO ORDERED.

 7
     Dated: _____________________                                By:_________________________
 8                                                               Hon. Yvonne Gonzalez Rogers
 9                                                               District Court Judge

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         STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO FILE RESPONSIVE PLEADING
